 Case 2:08-cr-00620-KM    Document 25        Filed 04/06/10    Page 1 of 2 PageID: 51




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA                 :      HON.    DICKINSON R.    DEBEVOISE

            V.                           :      Crim.    No.   08-620

PATRICK DOLAN and                        :      ORDER FOR CONTINUANCE
JOHN SOZOMENQU


            This matter having come before the Court on the

application of Paul J.      Fishman,    United States Attorney for the

District of New Jersey      (R.   Joseph Gribko,        Assistant U.S.

Attorney,   appearing)   and Gregory Tomczak,           Esq.,     appearing for

defendant Patrick Dolan,      and Peter Willis,           Esq.,   appearing for

defendant John Sozomenou,         for an order granting a continuance of

the proceedings in the above-captioned matter,                  and the defendants

being aware that they have the right to have the matter brought

to trial within 70 days of the date of their appearance before a

judicial officer of this court pursuant to Title 18 of the United

States Code,     Section 3161(c) (1),    and as the defendants have

consented to such a continuance,         and for good and sufficient

cause shown,

            IT IS THE FINDING OF THIS COURT that this action should

be continued for the following reasons:

            1.   Plea negotiations are currently in progress,                 and

both the United States and the defendants desire additional time

to negotiate a plea agreement,         which would render any trial of

this matter unnecessary;
 Case 2:08-cr-00620-KM     Document 25    Filed 04/06/10   Page 2 of 2 PageID: 52



            2.   Additional time is necessary in which to negotiate

a plea agreement;

            3.   Defendants have consented to the aforementioned

continuance;

            4.   Pursuant to Title 18 of the United States Code,

Section 3161(h) (8),     the ends of justice served by granting the

continuance outweigh the best interests of the public and the

defendants in a speedy trial.
                                         1k
            WHEREFORE,    on this             day of April,     2010,

            IT IS ORDERED the trial is scheduled for June 15,               2010;

and

            IT IS FURTHER ORDERED that the period from April 13,

2010,   through June 15,    2010,   shall be excludable in computing

time under the Speedy Trial Act of            1974,   pursuant to Title 18,

United States Code,      Section 3161(h) (8)




                                                                  -     L

                                                           IN
                                         HON. DICKINSON R. DEBEVOISE
                                         United States District Judge
